        Case 1:13-cv-00200-LJB Document 17 Filed 07/12/13 Page 1 of 1




            In the United States Court of Federal Claims
                                  No. 13-200 C
                              (Filed July 12, 2013)

*********************
WILLIAM B. HANRAHAN,     *
                         *
              Plaintiff, *
                         *
         v.              *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                    ORDER

       On July 10, 2013, the parties filed a Joint Motion to Withdraw Action from
Alternative Dispute Resolution. Accordingly, it is hereby ORDERED that the
parties’ motion is GRANTED.



                                                  /s/Lynn J. Bush
                                                  LYNN J. BUSH
                                                  Judge
